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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

CUTBERTO VIRAMONTES, an individual
and resident of Cook County, Illinois, et al.,

         Plaintiffs,                                  Case No.               1:21-cv-04595

         v.                                           Assigned Judge:        Rebecca R. Pallmeyer

THE COUNTY OF COOK, a body politic                    Designated
and corporate, et al.,                                Magistrate Judge:      Susan E. Cox

         Defendants.

                   DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                          PURSUANT TO FED. R. CIV. P. 56

         Defendants, the County of Cook, a body politic and corporate, Toni Preckwinkle, in her

official capacity as County Board President and Chief Executive Officer of Cook County,

Kimberly M. Foxx, in her official capacity as State’s Attorney, and Thomas Dart, in his official

capacity as Sheriff (collectively “Defendants”), by their attorney, Kimberly M. Foxx, State’s

Attorney of Cook County, move this Honorable Court pursuant to Federal Rule of Civil Procedure

56 requesting the entry of judgment in their favor and against the Plaintiffs. In support, Defendants

state:

         1.      On August 27, 2021, Plaintiffs filed a Complaint alleging that the Cook County

Blair Holt Assault Weapon Ordinance (“the Ordinance”) is unconstitutional and deprives Plaintiffs

of their Second Amendment rights by way of the Fourteenth Amendment. (ECF No. 1.)

         2.      Defendants bring this motion because the pleadings, depositions, interrogatory

answers, and the affidavits show that there is no genuine issue as to any material fact and that

Defendants are entitled to judgment as a matter of law. Fed. R. Civ. P. 56(c).




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        3.     Plaintiffs bear the initial burden to show that “the Second Amendment’s plain text

covers [their proposed] conduct” and thus “presumptively protects that conduct.” New York State

Rifle & Pistol Ass'n v. Bruen, ___U.S.___, 142 S. Ct. 2111, 2129–30 (2022). Plaintiffs cannot

establish that the Second Amendment’s plain text covers the military-grade weapons regulated by

Ordinance. For several reasons, the weapons in dispute fall outside of the protection of the plain

text of the Second Amendment.

        4.     Alternatively, this Court should enter judgment in favor of Defendants because the

Ordinance is consistent with the Nation’s historical tradition of firearm regulation. Bruen does not

impose “a regulatory straightjacket” requiring the government to identify a “historical twin” to the

ban in question. Bruen at 2133. Rather, Bruen suggests “a more nuanced approach” when

regulations “implicat[e] unprecedented societal concern or dramatic technological changes.” Id. at

2132.

        5.     Defendants are filing a Memorandum of Law In Support of Defendants’ Motion

For Summary Judgment contemporaneously with this motion.




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                                            Conclusion

       For all of the reasons set forth above and as supported by Defendants’ Memorandum of

Law filed in support, Defendants respectfully request this Court enter judgment in their favor and

against the Plaintiffs and for any other relief it deems appropriate.



 Dated March 3, 2023




 KIMBERLY M. FOXX
 Cook County State’s Attorney
                                                       By: s/Jessica M. Scheller
 Counsel for Defendants

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                                 CERTIFICATE OF SERVICE


         I, Jessica M. Scheller, hereby certify that on March 3, 2023, I caused a true and correct
copy of the Defendants’ Motion for Summary Judgment Pursuant to Fed. R. Civ. P. 56, to be sent
via e-filing to all counsel of record in accordance with the rules regarding the electronic filing and
service of documents.




                                                      /s/ Jessica M. Scheller
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